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                          IN THE UNITED STATED DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MARK KRAMER,                                     :      CIVIL DIVISION
                                                 :
                         Plaintiff,              :      No. 2:20-cv-1956
                                                 :
                  v.                             :
                                                 :
VELOCITY INVESTMENTS, LLC,                       :
                                                 :
                        Defendant.               :


                                      NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1367, and 1446, Defendant Velocity Investments, LLC,

(“Velocity”) hereby gives notice and removes this action to the United States District Court for

the Western District of Pennsylvania.

        PROCEDURAL HISTORY, BACKGROUND, AND BASIS FOR REMOVAL

    1. On July 23, 2020, Plaintiff, Mark Kramer (“Kramer”), began this action by filing a

         Praecipe for Writ of Summons in the Court of Common Pleas of Allegheny County,

         Pennsylvania. See Exhibit A.

    2. On October 23, 2020, Kramer filed a Complaint, presenting a federal question. See

         Exhibit B.

    3. The Complaint alleges violations of the Fair Debt Collection Practices Act, 15 U.S.C. §§

         1602 et seq. (”FDCPA”), Id. at ¶¶ 31-84. According to Kramer, Velocity’s initiated a

         lawsuit against Kramer to collect upon an unpaid debt and failed to keep certain

         “financial source” document confidential pursuant to 204 Pa. Cod § 213.81 Id. at ¶¶ 5-30.

         This allegedly amounts to “a false deceptive, and fraudulent representation in the

         attempted collection of any debt in violation of 15 U.S.C. § 1692e(10).” Id. at ¶ 25.


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    4. Therefore, Kramer’s Complaint, as stated, presents a federal question. Through his claims

         under the FDCPA, the allegations confer federal question jurisdiction on this Court

         pursuant to 28 U.S.C. §§ 1331 and supplemental jurisdiction of any other claims, which

         are related, pursuant to 28 U.S.C. § 1367.

    5. Velocity received a copy of the Complaint on or around November 17, 2020. No affidavit

         or certificate of service was filed of record in state court. See Exhibit C, State Court

         Docket Sheet.

    6. This Notice is timely in accordance with the provisions of 28 U.S.C. §1446(b), because it

         is being filed within 30 days after service of the Complaint upon Velocity.

    7. This Honorable Court possesses federal question jurisdiction under 28 U.S.C. § 1331

         based on the alleged violations of the FDCPA and supplemental jurisdiction under 28

         U.S.C. § 1367 for any related state law claims.

                                         VENUE AND NOTICE

    8. The Court of Common Pleas of Allegheny County, Pennsylvania, is located within the

         jurisdiction of the United States District Court for the Western District of Pennsylvania.

         Thus, venue in this Court is proper under 28 U.S.C. § 1441(a).

    9. Pursuant to 28 U.S.C. § 1446(d), Kramer is being provided with written notice of

         removal and a copy of this Notice is being filed with the Prothonotary of the Allegheny

         County Court of Common Pleas.

                                             JURY TRIAL

    10. Plaintiff did request a jury trial in the state court action.




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                                 STATE COURT PLEADINGS

    11. Copies of all process, pleadings, orders of record and the State Court Docket Sheet from

         the Court of Common Pleas of Allegheny County, Pennsylvania, are attached to this

         Notice. See also Exhibit C.

                                        CONCLUSION

         WHEREFORE, Defendant Velocity Investments, LLC, pursuant to 28 U.S.C. §§ 1331,

1367, and 1446, hereby removes this action from the Court of Common Pleas of Mifflin County,

Pennsylvania, to the United States District Court for the Middle District of Pennsylvania.



                                             Respectfully Submitted,


                                             By:      /s/ Thomas M. Pie’, Jr.
                                                     Daniel R. Bentz, Esquire
                                                     PA ID #200772
                                                     Thomas M. Pie’, Jr.
                                                     PA ID #322834

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                                CERTIFICATE OF SERVICE

         I hereby certify that this 16th day of December, 2020, a true and correct copy of the

foregoing Notice of Removal has been electronically filed with the Clerk of the Court using the

CM/ECF system. I further certify that I served a true copy of the foregoing upon counsel of

record as indicated below by electronically mailing a true copy thereof:

                                     Josh P. Ward, Esquire
                                  Kyle H. Steenland, Esquire
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                                             BY:    /s/ Thomas M. Pie’, Jr.
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